    Form B3BCase 15-10820-BFK               Doc 8 Filed 03/13/15 Entered 03/13/15 14:05:09                           Desc Main
                                                 United States Bankruptcy
                                                   Document        Page 1 ofCourt
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    (12/14)
                                                   Eastern District of Virginia
                                                   _______________
                                                        Alexandria     Division

    In re: Michael Opoku Agyeman                                                                Case No. 15-10820-BFK

                             Debtor(s)

                    ORDER ON DEBTOR’S APPLICATION FOR WAIVER OF THE CHAPTER 7 FILING FEE

    Upon consideration of the debtor’s “Application for Waiver of the Chapter 7 Filing Fee,” the court orders that the application be:

    [ ] GRANTED.

         This order is subject to being vacated at a later time if developments in the administration of the bankruptcy case demonstrate
         that the waiver was unwarranted.

    [ ] DENIED.


         [ ] The debtor shall pay the chapter 7 filing fee, in installments, according to the following terms:

         $ 100.00 Due: [14 days from entry]        , 20     .

         $ 105.00 Due: [One mo. from entry]        , 20     .

         $ 130.00 Due: [Two mos. from entry] , 20           .

         [ ] The debtor may not pay the chapter 7 filing fee in installments, and the full fee is :
             $ ________ Due: ___________________, 20 ___.

         Until the filing fee is paid in full, the debtor shall not make any additional payment or transfer any additional property to an
         attorney or any other person for services in connection with this case. The debtor must also pay the entire filing fee to
         receive a discharge.

         Debtor(s) not represented by counsel must submit installment fee in the exact amount due in either cash*, cashier's check or
         money order made payable to "Clerk, U.S. Bankruptcy Court." Personal checks of the debtor(s) cannot be accepted.
         *Cash is not accepted in the Newport News Division.

         IF THE DEBTOR FAILS TO TIMELY PAY THE FILING FEE IN FULL OR TO TIMELY MAKE INSTALLMENT
         PAYMENTS, THE COURT SHALL DISMISS THE DEBTOR’S CHAPTER 7 CASE AND THE DEBTOR’S
         RIGHTS IN FUTURE BANKRUPTCY CASES MAY BE AFFECTED. UPON DISMISSAL OF THE CASE, THE
         REMAINING FILING FEE IS NONETHELESS DUE AND PAYABLE WITHIN 14 DAYS FOLLOWING
         DISMISSAL OF THE CASE AND SUBSEQUENT APPLICATIONS TO PAY FILING FEES IN INSTALLMENTS
         WILL BE DENIED UNTIL ALL PRIOR FILING FEES ARE PAID IN FULL.

    [ ] SCHEDULED FOR HEARING.

         A hearing to consider the debtor’s “Application for Waiver of the Chapter 7 Filing Fee” shall be held on
                             at             at <Select Location>                                                                            .
                                                                                (address of courthouse)

    IF THE DEBTOR FAILS TO APPEAR AT THE SCHEDULED HEARING, THE COURT MAY DEEM SUCH FAILURE TO BE
    THE DEBTOR’S CONSENT TO THE ENTRY OF AN ORDER DENYING THE FEE WAIVER APPLICATION BY DEFAULT.

    Date: Mar 13 2015                                                        /s/ Brian F. Kenney
                                                                                       United States Bankruptcy Judge
                                                                             
                                                                             NOTICE OF JUDGMENT OR ORDER
                                                                             ENTERED ON DOCKET:

                                                                             March 13, 2015
